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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 FORT LAUDERDALE DIVISION
                             CASE NO. 20-61872-CIV-SINGHAL/HUNT

  ALAN DERSHOWITZ,

                Plaintiff,
  v.

  CABLE NEWS NETWORK, INC.,

             Defendant.
  _______________________________/
                                           ORDER
         THIS CAUSE is before this Court on Defendant's Motions to Compel, ECF Nos.

  154, 167; Plaintiff's Motion to Compel and for a Protective Order, ECF No. 155; Plaintiff’s

  Motion for Limited Discovery, ECF No. 169; and a Third-Party Motion for Protective Order,

  ECF No. 165. The Honorable Anuraag H. Singhal, United States District Judge, referred

  discovery to the undersigned for disposition. ECF No. 34; see also 28 U.S.C. § 636(b);

  S.D. Fla. Mag. R. 1. The undersigned, having carefully reviewed the pleadings, the record

  in this case, the argument of Counsel at a July 22, 2022 hearing, and applicable law, and

  being otherwise fully advised in the premises, ORDERS the Motions be GRANTED IN

  PART and DENIED IN PART as outlined below.

       1) Defendant’s Motion to Compel Compliance (ECF No. 154)

         Cable News Network (“Defendant”) first asks this Court to compel production of

  allegedly already-ordered documents to be turned over by a date certain. Defendant also

  asks that Alan Dershowitz (“Plaintiff”) be compelled to turn over responsive emails from

  his Harvard email address (“Harvard emails”), in line with the prior order that he turn over

  documents in his “possession.”
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         Although Plaintiff maintained that a prior discovery order required that he only

  produce documents in his “possession,” which implicitly excluded those in his custody or

  control, the undersigned finds that a reasonable reading of the prior discovery ruling

  includes all documents in Plaintiff’s possession, custody, or control. During the hearing

  on this issue, Plaintiff, in light of the Court’s finding, agreed to produce all responsive

  documents, save the Harvard emails, by Friday, July 29, 2022. As for the Harvard emails,

  the Parties have notified the Court that a universe of potentially responsive documents

  already produced in a similar case is currently being reviewed. The Parties shall notify

  the Court by Monday, August 1, 2022, as to whether this issue has been resolved.

     2) Plaintiff’s Motion to Compel and for Protective Order (ECF No. 155)

         Plaintiff here sought a protective order preventing Defendant from unilaterally

  setting Plaintiff’s deposition at a time and place of Defendant’s choice. Prior to the

  hearing, the Parties agreed the deposition would take place on August 11, 2022. Since

  the hearing, the Parties have held discussions regarding the deposition location and have

  agreed in principle to the terms of the deposition, though some financial issues remain to

  be resolved. The Parties shall continue to negotiate and notify the Court on or before

  August 1, 2022, as to whether further Court intervention is needed.

         Plaintiff also sought to compel Defendant to be more specific in its answer to an

  interrogatory but has since notified the Court that this issue is moot. Finally, Plaintiff

  seeks to compel Defendant to tell him whether relevant documents were deleted

  (purposefully or inadvertently), as Defendant has heretofore only notified Plaintiff that no

  one “purposefully deleted” relevant documents. Regarding the “deleted” language, which




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  is the only issue remaining to be decided at this time, Defendant contends it answered

  the interrogatory using language previously approved of by the Court.

         At the hearing, Defendant indicated that its Counsel did, in fact, ask the identified

  individuals whether the documents had been deleted, with negative responses. Further,

  having examined the transcript of the hearing at which the language in question came up,

  this Court agrees with Defendant that the language regarding “purposeful deletion” was

  approved in a prior ruling, and the Court sees no reason to disturb that ruling. Plaintiff’s

  Motion on this point is denied.

     3) Third-Party Motion for Protective Order (165)

         Third-Party Anne Milgram here seeks to limit her deposition. Milgram wants her

  deposition to be limited, pursuant to the law governing discovery in defamation cases, to

  the time period surrounding Plaintiff’s statements at issue in this case and Milgram’s

  appearance on Defendant’s news channel later that evening, as well as topics reasonably

  related to Milgram’s credibility. Milgram also seeks to limit her deposition to one hour.

         Plaintiff counters that Milgram is a key witness who made remarks at the heart of

  this case. Plaintiff argues that statements made outside the limited time frame proposed

  may be probative as to her state of mind at the time she made the remarks. Plaintiff also

  argues that he should be allowed the full scope of Fed. R. Civ. P. Rule 30, and should

  not be artificially restricted from pursuing the questioning wherever it may lead.

         The Parties have agreed to some limitations on the deposition, such as prohibiting

  inquiries into Milgram’s current position as the head of the Drug Enforcement Agency,

  and the Court approves such limitations. The undersigned agrees further that the time

  for Milgram’s deposition should be limited, though Plaintiff will be allowed two hours to



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  depose the witness. Plaintiff will be allowed to inquire about statements outside of the

  suggested time period, but only insomuch as the statements relate to things said during

  the period in which the statement at issue in this case was made. This would include any

  subsequent statements she made about her appearance on Defendant’s news program.

  Finally, with respect to credibility, the Court notes that Milgram suggested the following

  limitations:

             (1) her contract with CNN; (2) background questions on her work with CNN in
             general; (3) payments she received from CNN pursuant to the contract; (4) any
             previous statements she has made about Mr. Dershowitz; (5) her thoughts and
             opinions on the January 2020 Impeachment Trial; and (6) any reasons she may
             have had to lie on television or during the deposition.

  ECF No. 165 at 5-6.

         Although the Court will not impose advance restrictions on Plaintiff in his credibility

  inquiries, it does find these to be good guidelines should the Parties need help limiting

  the scope of the deposition.

     4) Defendant’s Motion to Compel Documents (ECF No. 167)

         Defendant here seeks (a) communications with former CNN employee Chris

  Cuomo (Requests for Production (“RFP”) 1-2); (b) communications between Plaintiff and

  others regarding the effect on his reputation of various events and actions he took during

  the years preceding the allegedly defamatory publications (RFP 3-9); and (c) documents

  concerning a specific alleged basis of Plaintiff’s damages (RFP 10).

         Plaintiff argues that the requests are untimely and duplicative. As to Cuomo,

  Plaintiff asks that the subject matter be limited to relevant topics, and argues that

  Defendant already has access to emails between Plaintiff and email addresses that

  belong to its news organization. As to RFP 3-9, Plaintiff argues that the Court has already



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  ruled on these and that Defendant now seeks a second bite at the apple. As to RFP 10,

  Plaintiff states that no relevant documents have so far been found.

         The undersigned finds that Plaintiff’s suggested limitation on the Cuomo inquiry to

  topics relevant to Plaintiff’s defamation claim is reasonable.        However, Plaintiff is

  responsible for producing emails to any email address that he has in his possession,

  custody or control, regardless of their origin.

         As to RFP 3-9, the Court first observes that Defendants have voluntarily withdrawn

  RFP 6 during the hearing, which the Court agrees was problematically overbroad. As to

  RFP 3, 4, 5, 7, 8, and 9, the undersigned finds them relevant, and that responsive

  documents must be produced, but limits the inquiry only to those individuals specifically

  identified by Defendant. As for RFP 10, Plaintiff should turn over responsive documents

  should any be found.

     5) Plaintiff’s Motion to Compel (ECF No. 169)

         Plaintiff argues that newly discovered evidence justifies a different temporal scope

  of discovery than that ordered earlier in this case. Plaintiff also requests that the Court

  conduct an in-camera review of one curiously redacted text message.

         The undersigned has reviewed the evidence provided by Plaintiff and found

  nothing that would justify changing the already-set temporal scope of discovery. As to

  the text message, however, the Court agrees to conduct an in-camera review.

         Accordingly, it is hereby ORDERED AND ADJUDGED:

         As ordered at the June 22, 2022 hearing, Plaintiff shall turn over all responsive

  documents, save Plaintiff’s Harvard emails, on or before Friday, July 29, 2022.        The

  Parties shall continue to discuss the Harvard emails and notify this Court of the outcome



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  of those discussions on or before August 1, 2022. In any case, the Harvard emails shall

  be turned over on or before August 4, 2022.

         Plaintiff shall have no more than two hours to depose Anne Milgram but will be

  allowed to inquire about statements made beyond her January 29, 2022 appearance on

  Defendant’s newscast. Plaintiff shall, however, limit his inquiry to statements that relate

  to Milgram’s statement on the newscast, as well as any subsequent statements she made

  about her appearance on Defendant’s news program. Plaintiff may also make reasonable

  inquiries into topics relating to Milgram’s credibility but should be led by the guidance

  outlined above.

         Plaintiff shall also turn over by July 29, 2022, all documents responsive to RFP 3-

  5 and 7-10 from Defendant’s Fourth Request for Production that are in Plaintiff’s

  possession, custody or control, regardless of their origin, though Plaintiff’s documents as

  to Christopher Cuomo shall be limited to topics relevant to Plaintiff’s defamation claim.

         Defendant shall turn over for in-camera review an unredacted copy of the text

  message at issue in ECF No. 169. The unredacted text message shall be sent to

  Chambers at hunt@flsd.uscourts.gov on or before July 29, 2022.

         The Motions are otherwise DENIED.

         DONE and ORDERED at Fort Lauderdale, Florida, this 28th day of July 2022.




                                            __________________________________
                                            PATRICK M. HUNT
                                            UNITED STATES MAGISTRATE JUDGE


  Copies furnished to:
  The Honorable Anuraag H. Singhal

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  All counsel of record




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